 Case 1:19-cv-16595-RBK-JS Document 9 Filed 09/09/19 Page 1 of 3 PageID: 81



                 IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEW JERSEY
                            CAMDEN VICINAGE

 BRADARI ALTMAN

                         Plaintiff,
       v.                                   Civil No. 19-16595 (RBK/JS)

 STOCKTON UNIVERSITY
                          Defendant.

                     MAGISTRATE JUDGE SCHNEIDER'S
                  STANDING ORDER IN ALL CIVIL CASES

     The parties are hereby notified that the following provisions
shall be followed in all civil cases pending before Magistrate
Judge Schneider.

     IT IS this 6th day of September, 2019, hereby ORDERED:

     1.   Discovery Applications - All discovery applications
pursuant to L. Civ. R. 37.1(a)(1) shall include an Affidavit or
Certification that includes the information identified in L. Civ.
R. 37.1(b)(1).   Absent exigent circumstances, the Court expects
parties to "meet and confer" in-person or via telephone before
making a discovery application, rather than just exchanging
letters or e-mails.     All discovery motions and applications
pursuant to L. CIV. R. 37.1(a)(1) shall be made returnable before
the expiration of pretrial factual discovery.

     2.   Applications for Scheduling Changes - All applications
to change scheduling deadlines shall be made before the expiration
of the applicable deadline.     The application shall include a
statement indicating whether all parties consent or object. All
applications regarding motions returnable before a District Judge
shall be presented to the District Judge.

     3.   Motions to Amend - Counsel shall comply with amended L.
Civ. R. 15.1 which requires motions to amend to state whether the
motion is opposed. Parties shall meet and confer in-person or by
phone about the issue. Parties shall also attach to their motion
a form of the proposed amended pleading that indicates in what
respect(s) it differs from the pleading it proposes to amend.

                                      1
 Case 1:19-cv-16595-RBK-JS Document 9 Filed 09/09/19 Page 2 of 3 PageID: 82




     4.   Appearances at Court Conferences - All attorneys
appearing before the Court shall be fully prepared to discuss all
applicable substantive, case management and scheduling issues,
including settlement.

     5.   Telephone Conferences - On occasion the Court schedules
telephone conference calls to accommodate the parties' schedules.
However, the Court will not participate in a conference call where
any participant is driving.

     6.   Pro Hac Vice Admissions - All applications for pro hac
vice admission shall be presented by formal motion in accordance
with the applicable Local Rules of Civil Procedure.

     7.   Depositions - All depositions are to be conducted in
accordance with the procedures set forth in Hall v. Clifton
Precision, 150 F.R.D. 525 (E.D.Pa. 1993).

     8.   Fed. R. Civ. P. 30(b)(6) Depositions - These depositions
shall be conducted and defended in accordance with this Court's
decisions in Harris v. New Jersey, 259 F.R.D. 89 (D.N.J. 2007) and
Costa v. County of Burlington, 254 F.R.D. 187 (D.N.J. 2008).

     9.   Answers and Objections to Written Discovery - Answers
and objections shall strictly comply with Fed. R. Civ. P.
34(b)(2)(B) and (C). Further, boilerplate objections will be
summarily denied. Younes v. 7-Eleven, Inc., 312 F.R.D. 692, 704
(D.N.J. 2015). Counsel are also reminded of their obligations under
Fed. R. Civ. P. 26(g). See id. at 703-707.

     10. Fed. R. Civ. P. 34 Document Requests - Parties are
encouraged to serve early document requests pursuant to Fed. R.
Civ. P. 26(d)(2) and to meet and confer with opposing counsel about
any objections prior to the Rule 16 scheduling conference.

     11. Treating Physicians - If applicable, treating physicians
shall not be considered expert witnesses and shall be treated as
fact witnesses who are, however, required to provide reports and
records concerning their treatment. However, except as stated in
Fosamax, any doctor who is going to express an opinion as to the
cause of a particular condition or as to the future prognosis of
a particular condition shall be considered an expert subject to
the requirements of Fed. R. Civ. P. 26(a)(2)(B). See In re Fosamax,
2013 WL 1558690, at *11 (D.N.J. April 10, 2013) (treating

                                     2
 Case 1:19-cv-16595-RBK-JS Document 9 Filed 09/09/19 Page 3 of 3 PageID: 83



physicians are not required to submit expert reports if they form
their opinion on causation or prognosis as part of the ordinary
care of a patient). (citation and quotation omitted).

     12. Statements - The parties shall exchange and produce
written statements identifying all opinion testimony counsel and
the parties anticipate will be presented at trial pursuant to F.
R. Evid. 701 and Teen-Ed v. Kimball International, Inc., 620 F.2d
399 (3d Cir. 1980).

     13. Videotape Trial Testimony - In all cases pending before
the Honorable Noel L. Hillman, Judge Hillman shall not permit at
trial any witness testimony by video unless the witness is
unavailable as set forth in Fed. R. Civ. P. 32(a)(4). All requests
to use videotaped trial testimony in a case pending before Judge
Hillman shall be presented in a filed motion.

     14. Individual Rules and Procedures - All cases pending
before the Honorable Renée Marie Bumb shall be subject to Judge
Bumb's "Individual Rules and Procedures."   To the extent this
Court's Orders are not consistent with Judge Bumb's Rules and
Procedures, Judge Bumb's Order controls.

THE FAILURE OF A PARTY OR ATTORNEY TO OBEY THIS ORDER MAY RESULT
     IN IMPOSITION OF SANCTIONS UNDER FED. R. CIV. P. 16(f).

                                   s/ Joel Schneider
                                   JOEL SCHNEIDER
                                   United States Magistrate Judge




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